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                                                      UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                        WAYMO LLC,                                         CASE NO. 3:17-cv-00939-WHA
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                                     Plaintiff,                            [PROPOSED] ORDER GRANTING
                                                                        PLAINTIFF WAYMO LLC’S MOTION
                            vs.                                            FOR RECONSIDERATION OF ORDER
                                                                        GRANTING IN PART AND DENYING IN
                     UBER TECHNOLOGIES, INC.;                              PART ADMINISTRATIVE MOTION TO
                  OTTOMOTTO LLC; OTTO TRUCKING                          FILE UNDER SEAL (DKT. 2393)
                     LLC,
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                               Defendants.
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01980-00104/9767288.1                                                                           CASE NO. 3:17-cv-00939-WHA
                                                  [PROPOSED] ORDER GRANTING WAYMO’S MOTION FOR RECONSIDERATION OF DKT. 2393
                  1         Plaintiff Waymo LLC (“Waymo”) has filed a Motion for Reconsideration of Order

                  2 Granting in Part and Denying in Part Administrative Motion to File Under Seal (Dkt. 2393)

                  3 (“Motion for Reconsideration”).

                  4         Having considered the Motion for Reconsideration, and good cause to seal having been

                  5 shown, the Court GRANTS Waymo’s Motion for Reconsideration and ORDERS sealed the

                  6 portions of the documents listed below:

                  7         1.     Sealing portions of Waymo’s Opposition to Uber’s Motion to Compel Production of

                  8                Documents (previously filed at Dkt. 1048-4) marked in red boxes on page 1 of the

                  9                sealed version filed as Exhibit A to the Motion for Reconsideration (in addition to
                 10                passages previously granted sealing).

                 11         2.     Sealing portions of the July 26, 2017 Deposition Transcript of Jennifer Haroon

                 12                (previously filed as Exhibit 3 at Dkt. 1048-9) marked in red boxes in the sealed version

                 13                filed as Exhibit B to the Motion for Reconsideration (specifically, at deposition pages

                 14                and lines 108:6,25; 124:1,6, in addition to passages previously granted sealing).

                 15         3.     Sealing portions of the July 17, 2017 Deposition Transcript of Larry Page (previously

                 16                filed as Exhibit 1 at Dkt. 1114-2/1068-5) marked in red boxes in the sealed version
                 17                filed as Exhibit C to the Motion for Reconsideration (specifically, at deposition pages

                 18                and lines 97:5,25; 108:19; 183:10; 214:21,25; 215:6, in addition to passages previously

                 19                granted sealing).

                 20         4.     Sealing portions of the July 24, 2017 and July 25, 2017 Deposition Transcripts of

                 21                Bryan Salesky (previously filed as Exhibit 4 at Dkt. 1114-5/1068-10) marked in red

                 22                boxes in the sealed version filed as Exhibit D to the Motion for Reconsideration

                 23                (specifically, at deposition pages and lines 145:2; 146:2,5; 148:6,12; 151:1,3,7-8;

                 24                247:2).

                 25         5.     Sealing portions of the document bearing Bates stamp WAYMO-UBER-00026174

                 26                (previously filed as Exhibit 5 at Dkt. 1068-11) marked in red boxes in the sealed
                 27                version filed as Exhibit E to the Motion for Reconsideration.

                 28         6.     Sealing portions of the document bearing Bates stamps WAYMO-UBER-00008935 to

01980-00104/9767288.1                                                                      CASE NO. 3:17-cv-00939-WHA
                                                                    -2-
                                             [PROPOSED] ORDER GRANTING WAYMO’S MOTION FOR RECONSIDERATION OF DKT. 2393
                  1               WAYMO-UBER-00008939 (previously filed as Exhibit 4 at Dkt. 1105-4/1080-10)

                  2               marked in red boxes in the sealed version filed as Exhibit F to the Motion for

                  3               Reconsideration (specifically, at pages WAYMO-UBER-00008937 to WAYMO-

                  4               UBER-00008938).

                  5        7.     Sealing portions of the August 2, 2017 Deposition Transcript of John Krafcik

                  6               (previously filed as Exhibit 6 at Dkt. 1105-8/1080-14) marked in green boxes in the

                  7               sealed version filed as Exhibit G to the Motion for Reconsideration (specifically, at

                  8               deposition page and lines 51:10; 253:4, in addition to passages previously granted

                  9               sealing).
                 10        8.     Sealing portions of the document bearing Bates stamp WAYMO-UBER-00026185

                 11               (previously filed as Exhibit 2 at Dkt. 1098-4) marked in red boxes in the sealed version

                 12               filed as Exhibit H to the Motion for Reconsideration.

                 13

                 14 IT IS SO ORDERED.

                 15
                            January 16, 2018 2017
                 16 Dated: ______________,
                 17                                          HON. JA
                                                                   JJACQUELINE
                                                                      CQQUELINE E SCOTT CORLEY
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                                                                                               EY
                                                             United States Magistrate Judge
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01980-00104/9767288.1                                                                       CASE NO. 3:17-cv-00939-WHA
                                                                     -3-
                                              [PROPOSED] ORDER GRANTING WAYMO’S MOTION FOR RECONSIDERATION OF DKT. 2393
